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           ORDERED in the Southern District of Florida on March 18, 2020.




                                                                Paul G. Hyman, Jr.,Judge
                                                                United States Bankruptcy Court
_____________________________________________________________________________




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

          IN RE:                                         CASE NO. 19-24331-BKC-PGH
                                                         CHAPTER 13
          RALPH LEVI SANDERS, JR.
          __________________________/

           ORDER GRANTING ATTORNEY-REPRESENTED DEBTOR’S VERIFIED “OUT OF
            TIME” MOTION FOR REFERRAL TO MORTGAGE MODIFICATION MEDIATION

                   The Debtor filed the Attorney-Represented Debtor’s Verified “Out of Time” Motion

          for Referral to Mortgage Modification Mediation (“Out of Time Motion”) (DE 50) on

          February 28, 2020 for Debtor’s real property located at 561 SW 60 Ave., Plantation, FL

          33317 and served it on The Bank of New York Mellon c/o Specialized Loan Servicing,

          LLC. (“Lender”) in accordance with this Court’s Mortgage Modification Mediation

          (“MMM”) Program Procedures (select one):




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       _X__ The 14-day response time provided by the mediation program procedures

has expired, no one has filed, or served on the movant, a response to the motion, and

this form of order was attached as an exhibit to the motion.

       ____ The Lender has filed a Lender’s Consent to participate in MMM.

       ____ The Debtor filed a “Certificate of Contested Matter” and the Court

conducted a hearing on _____________.

       It is ORDERED as follows:

       1. The Motion is granted.

       2. The Debtor and Lender are required to participate in Mortgage Modification

Mediation (“MMM”) in good faith. MMM shall be concluded not later than 150 days from

the date of the Order, unless extended by written consent on the portal, by stipulation of

the parties or by court order.

       3. All communications and information exchanged during MMM are privileged

and confidential as provided by Federal Rule of Evidence 408 and Chapter 44 of the

Florida Statutes, and shall be inadmissible in any subsequent proceeding.

       4. All written communication between the parties regarding the mediation must

be sent through the approved Mortgage Modification Mediation Portal (“MMM Portal”)

only, unless otherwise ordered by the Court. Any litigated matters incidental to the

mediation shall be considered as separate matters and not subject to the portal

communication requirement.

       5. The Lender (and Lender’s counsel, if any) shall register with the MMM Portal,

unless already registered, within seven days after entry of this Order, and designate its

single point of contact and outside legal counsel, if any. If the Lender fails to register,



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the Debtor may file a motion with the Court seeking sanctions against the Lender for

Lender’s failure to register.

          6. Lender’s counsel or representative shall have the authority (within the

investor’s guidelines) to settle and will attend and continuously participate in all MMM

conferences in this case.

          7. Debtor’s attorney shall, within seven days after the Debtor’s Notice of

Selection of Mortgage Modification Mediator (or Notice of Clerk’s Designation of

Mortgage Modification Mediator) is filed, or after confirming that the Lender is registered

on the MMM Portal, whichever occurs later, remit to the MMM Portal the required non-

refundable MMM Portal submission fee in the amount $40.00, and upload to the MMM

Portal the following (collectively, the “Completed Package”):

          (a) Debtor’s loan modification package (prepared using the Document

Preparation Software);

          (b) A copy of this Order; and

          (c) Any additional lender-specific information identified by Lender on the MMM

Portal.

          8. The Lender shall, within seven days after Debtor’s delivery of the “Completed

Package”, acknowledge receipt of Debtor’s information and advise Debtor of any

additional or missing information required for Lender to proceed with its review.

          9. In the event the Lender requires additional or missing information to consider

the Debtor’s requested mortgage modification options as specified in the Motion, the

Lender shall so notify Debtor through the MMM Portal within seven days of Debtor’s

submission (“Notice”). The Debtor shall provide all additional documents through the

MMM Portal within seven days of the Notice.
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       10. The Lender shall timely underwrite the loan modification request.

       11. If the Lender transfers the loan, the Lender must provide a copy of the Order

to the new holder of the loan (“Successor Lender”), and the Successor Lender will be

obligated to comply with all terms of this Order.

       12. PROCESS FOR SELECTION OF MEDIATOR:

       (a) The parties shall have 14 days from the date of this Order to select a

mediator. If the parties agree on the selection of a mediator, the Debtor shall file the

MMM Local Form “Debtor’s Notice of Selection of Mortgage Modification Mediator”

(Check Box 1 and insert mediator name and contact information), serve a copy of the

notice on all required parties, and file a Certificate of Service pursuant to Local Rule

2002-1(F).

       (b) If the Lender fails to communicate with the Debtor within the 14 day period

established for the mediator selection process, the Debtor shall, within seven days,

independently select a mediator and file the MMM Local Form “Debtor’s Notice of

Selection of Mortgage Modification Mediator” (Check Box 2 and insert mediator name

and contact information), serve a copy of the notice on all required parties, and file a

Certificate of Service pursuant to Local Rule 2002-1(F). In this instance, it shall be

deemed that the Lender has waived the right to challenge Debtor’s selection of a

mediator.

       (c) If the parties attempt to reach agreement on the selection of a mediator, but

fail to do so, the Debtor shall file the MMM Local Form “Debtor’s Notice of Selection of

Mortgage Modification Mediator” (Check Box 3 indicate an impasse), serve a copy of

the notice on all required parties, and file a Certificate of Service pursuant to Local Rule

2002-1(F). The clerk shall then randomly select a mediator from the clerk’s Mediation
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Register pursuant to Local Rule 9019-2(B)(3), without the necessity of a hearing. The

clerk shall serve notice of the mediator selection on the required parties using the MMM

Local Form “Notice of Clerk’s Designation of Mortgage Modification Mediator”. Local

Rule 9019-2(B) shall apply to any challenge to the Clerk’s Designation of Mediator.

      13. Debtor’s attorney shall assign the mediator as the mediator in this case on

the MMM Portal within seven days after designation.

      14. The mediator shall:

      (a) be governed by the standards of professional conduct set forth in the Florida

rules for certified and court-appointed mediators and shall have judicial immunity in the

same manner and to the same extent as a judge;

      (b) subject to paragraph 15 below, be compensated in the amount of $600.00 for

preparation for MMM, execution of required documents, facilitation of document and

information exchange between the parties, and participation in no more than two one-

hour MMM conferences; and

      (c) be compensated at the rate set by this Court’s Local Rule 9019- 2(6) for any

MMM conferences that extend beyond the initial two one-hour conferences.

      15. The mediator’s fee shall be paid equally by the parties as follows:

             (a)      The Debtor shall pay a non-refundable fee in the amount of

      $300.00 directly to the mediator within seven days designation of the mediator;

      OR

                  The Court finds that the Debtor qualifies for a mediator pro bono. The

      mediator shall notify the Court and the Debtor immediately by motion if the




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      mediator is not willing to serve pro bono and state in the motion to be excused

      from pro bono mediation, the reasons why the mediator seeks to be excused.

      (b) The Lender shall pay a non-refundable fee in the amount of $300.00 directly

to the mediator within seven days after designation of the mediator.

      (c) The mediator’s fee for MMM conferences that extend beyond two, one-hour

conferences, shall be paid equally by the parties (unless the Debtor is receiving pro

bono mediation, in which case the Lender shall pay its half) and is due and payable at

the beginning of each successive MMM conference in accordance with the program

procedures.

      16. The mediator shall log in to the MMM Portal within seven days after

designation and use the MMM Portal to facilitate any additional exchange of information

or documentation between Debtor and Lender in an effort to perfect the documents

needed for Lender to complete its analysis of Debtor’s mortgage modification options.

      17. If the mediator either fails to timely register or log in to the MMM Portal to

begin to facilitate the MMM process, any party to the mediation may file a motion

requesting that the mediator be removed from this case and, if applicable, be removed

from the Clerk’s Mediation Register.

      18. MEDIATION CONFERENCE:

      (a) The mediator shall schedule the initial MMM conference no later than seven

days after determining that the Lender has received and reviewed all requested

information. In the event the mediator cannot determine that the Lender has received all

the requested information, the mediator shall schedule the initial MMM conference

within 90 days of this Order. The initial MMM conference shall not exceed one hour. The

mediator shall report the scheduling of all MMM conferences on the MMM Portal.
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      (b) The Lender and Lender’s representative may participate in the MMM

conference by telephone.

      (c) The Debtor and any co-obligors/co-borrowers or other third party may

participate in the MMM conference by telephone provided they are physically present

with Debtor’s attorney and present identification to Debtor’s attorney counsel during all

MMM conferences.

      (d) Debtor shall provide a foreign language interpreter, if necessary, at the

Debtor’s own expense.

      (e) All parties attending the MMM conference must be ready, willing and able to

sign a binding settlement agreement at the MMM conference and have the ability to

scan, send and receive documents by facsimile, email or other electronic means at the

time of the MMM conference.

      19. In the event the parties are unable to reach an agreement and require an

additional MMM conference, the mediator shall schedule a final MMM conference no

later than 30 days thereafter. The final MMM conference shall not exceed one hour.

      20. In the event the parties reach a final resolution or, if no agreement has been

reached, the mediator shall report the results of the MMM on the MMM Portal not later

than seven days after the conclusion of the final MMM conference. The mediator shall

also complete and file with the Court, either conventionally or via CM/ECF, the MMM

Local Form “Final Report of Mortgage Modification Mediator”, within two business days

following entry of the final report data on the MMM Portal.

      21. If applicable, Debtor’s attorney shall file the MMM Local Form “Ex Parte

Motion to Approve Mortgage Modification Mediation Agreement with Lender”, no later

than 14 days following the filing of the Final Report and upload the MMM Local Form
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“Order Granting Motion to Approve Mortgage Modification Mediation Agreement with

Lender” to the Court’s E-Orders program. The parties shall also seek any necessary

Court approval and formalize any required legal documents in a timely fashion

thereafter.

         22. The automatic stay is modified to the extent necessary to facilitate MMM

pursuant to this Order.

         23. [For chapter 7 debtors] Notwithstanding that the Debtor may be eligible for

entry of a discharge before the MMM process is completed, the Court shall delay

issuance of the discharge until either an agreement is reached or the parties reach

impasse as reflected in the Local Form "Final Report of Mortgage Modification

Mediator".

         24. Any of the deadlines imposed by this Order may be extended by order of the

Court.

         25. If any parties or counsel fail to comply with the terms of this Order, the Court

will consider a motion to vacate the Order and may also impose sanctions.

         26. The Debtor’s attorney shall serve a copy of this Order on all parties to the

mediation, immediately upon receipt. Service shall be by regular U.S. Mail, electronic

service, or email, if the party’s email address is known.

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